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United States District Court
District of Massachusetts

 

United States of America,
Plaintife,

Criminal Action No.
19-10080-NMG

v.
Sidoo et al,

Defendants.

 

MEMORANDUM & ORDER
GORTON, J.

The government has charged defendants with conspiring with
William “Rick” Singer (“Singer”) to have their children
fraudulently admitted to elite universities by, inter alia,
fabricating applications, falsifying academic and athletic
credentials, cheating on standardized tests, making payments to
corrupt exam proctors and bribing university employees and
athletic coaches.

The defendants have moved to suppress evidence derived from
four wiretaps that allegedly took place outside of the
territorial jurisdiction of this Court and which were authorized
without the government having demonstrated their necessity

(Docket Nos. 1015 and 1024). In the alternative, defendants
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request a hearing pursuant to Franks v. Delaware, 438 U.S. 154

 

(1978).
I. Facts

The facts of this case have been broadly recited in prior
orders of this Court, see Docket Nos. 1169 and 1334, but
relevant here is the following:

On June 5, 2018, United States District Judge Alison D.
Burroughs granted the first wiretap of Singer’s telephone for a
period of 30 days. The affidavit and order stated that the
“listening post” for the wiretap would be in Massachusetts. It
also indicated that Singer was a resident of California, as were
many of the identified target subjects of the investigation.
Other targets were identified as living elsewhere in the United
States and abroad. The order provided that if Singer’s
telephone was “used outside the territorial jurisdiction of this
Court,” interception could continue in Massachusetts, where the
communications were being “monitored.” Docket Nos. 1015-16.

The affidavit also described the history of the
investigation, including that: (1) two individuals were
cooperating with agents, (2) the cooperators had made
consensually recorded phone calls to Singer and (3) agents had
obtained 30 gigabytes of Singer’s emails pursuant to a search
warrant which agents had just begun to review. The affidavit

explained that such investigative techniques were insufficient
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to obtain evidence regarding the full scope of Singer’s
operation. It noted that agents had considered but found
insufficient: (1) use of an undercover agent, (2) further use of
the cooperating defendants, (3) further grand jury subpoenas, or
(4) an exhaustive review of Singer’s emails.

On July 3, 2018, Judge Burroughs extended the interception
of Singer’s telephone and authorized the interception of two
email accounts: rickwsinger@gmail.com and rwsinger@gmail.com.
Her order was based on a 75-page affidavit that incorporated the
June 5, 2018, affidavit by reference. The second affidavit and
order describe the importance of the evidence gathered from the
wiretap thus far in proving that parents and Singer were
involved in bribery. It acknowledged that agents had access to
Singer’s emails but noted that real-time interception of
Singer’s telephone calls was essential in obtaining proof of
Singer’s intent.

On August 2, 2018, the Court authorized the continued
interception of Singer’s telephone and primary email account,
rickwsinger@gmail.com, based on an 85-page affidavit that
incorporated both prior affidavits by reference. This third
affidavit contained transcripts of some of Singer’s intercepted
calls and reiterated the importance of real-time interceptions

of telephone calls in developing evidence of defendants’ intent.
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Finally, on August 30, 2018, the Court granted continued
interception of Singer’s telephone and email account based upon
a 105-page affidavit. That fourth affidavit described the other
investigative techniques that agents were utilizing such as
working with cooperators, executing email search warrants and
pursuing a financial investigation. It reiterated that only
real-time interception of telephone calls would provide proof

beyond a reasonable doubt of the crimes under investigation.

II. Discussion
A. Territorial Jurisdiction
i. Legal Standard

Chapter 119 of Title III of the Omnibus Crime Control and
Safe Streets Act (“Title III”), 18 U.S.C. §§ 2510-2521 sets
forth the procedures for obtaining federal authorization of
wiretapping and other forms of electronic surveillance. Section
2518(3) provides that a judge may enter an order “approving
interception of wire, oral, or electronic communications within
the territorial jurisdiction of the court in which the judge is
sitting. ..”

The defendants contend that the interception of calls to
and from a California cell phone that never was physically
present in this district or used to place a call to a phone in

this district (excluding calls initiated by the government
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through cooperators) did not occur within the “territorial
jurisdiction” of this Court, as required by § 2518(3). Asa
result, they argue, all evidence derived from the wiretaps must
be suppressed. Furthermore, defendants aver that the wiretap
applications omitted material information (and included
misleading information) that misrepresented the connection
between any ongoing criminal conspiracy and the District of
Massachusetts.
ii. Analysis

The defendants argue that the “listening post” theory of
jurisdiction, i.e. that an interception occurs either where the
phone is located or where the “listening post” is located, is
ill-conceived and urge this Court to depart from nearly 30 years
of precedent.

The listening post theory was well explained by the

Southern District of New York in United States v. Rodriguez, 734

 

F. Supp. 116, 120 (S.D.N.Y. 1990), aff'd, 968 F.2d 130 (2d Cir.
1992):

The answer [of where the interception occurred] is given by
the definition of “intercept” in the statute: Section
2510(4) defines “intercept” as “the aural or other
acquisition of the contents of any wire, electronic, or
oral communication through the use of any electronic,
mechanical, or other device”. The case law interprets the
term “aural acquisition” to mean where the communication is
actually heard or where it is recorded.
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The government explains and the Court agrees that every
appellate court to consider the issue has held that the
interception occurs either where the phone is located or where

the “listening post” is located. See id.; United States v. Cano-

 

Flores, 796 F.3d 83, 87 (D.C. Cir. 2015); United States v.
Henley, 766 F.3d 893, 911-12 (8th Cir. 2014); United States v.
Luong, 471 F.3d 1107, 1109-10 (9th Cir. 2006); United States v.
Jackson, 207 F.3d 910, 914-15 (7th Cir. 2000), vacated on other

grounds, 531 U.S. 953 (2000); United States v. Denman, 100 F.3d

 

399, 402-03 (5th Cir. 1996); see also United States v. Jackson,

 

849 F.3d 540, 552 (3d Cir. 2017) (interceptions occurred at
location of “listening post” under Pennsylvania statute modeled
after Title III); United States v. Tavarez, 40 F.3d 1136, 1138
(10th Cir. 1994) (same, Oklahoma statute). This Court sees no
reason to deviate from prevailing precedent. Moreover, in the
current age of cell phones, requiring agents to obtain wiretaps
for every district wherein a cell phone might be used would be
“unworkable.” Cano-Flores, 796 F.3d at 87.

Here, the investigation into Singer’s alleged scheme was
based in Massachusetts, therefore the listening post was in
Massachusetts. Because the interceptions were made in
Massachusetts where the listening post was based, they occurred
within the territorial jurisdiction of this Court as required by

Title III § 2518(3).
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Furthermore, the wiretap affidavits clearly indicated that
many of the targets were located outside of the Commonwealth, in
California and beyond. They also described the events that
transpired within Massachusetts, such as meetings, phone calls
and a wire transfer. These facts are not in dispute. Thus, the
affidavits were not misleading nor did they omit material facts
regarding the Court’s jurisdiction.

Accordingly, defendants’ motion to suppress the
communications derived from the four wiretaps for lack of
territorial jurisdiction will be denied.

B. Necessity
i. Legal Standard

Before authorizing the interception of wire communications
pursuant to Title III of the Omnibus Crime Control and Safe
Streets Act of 1986 (“Title III”), 18 U.S.C. § 2518(1)(c), a
court must make a finding of necessity. See 18 U.S.C. § 2518;

United States v. Santana, 342 F.3d 60, 65 (1st Cir. 2003).

 

Title III requires that a wiretap application include
a full and complete statement as to whether or not other
investigative procedures have been tried and failed or why
they reasonably appear to be unlikely to succeed if tried
or to be too dangerous.

18 U.S.C. § 2518(1)(c). To satisfy that requirement the

government must make a “reasonable, good faith effort to run the

gamut of normal investigative procedures before resorting to
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means so intrusive as electronic interception of telephone
calls.” United States v. Hoffman, 832 F.2d 1299, 1306-07 (1st
Cir. 1987). A reviewing court must uphold a wiretap if “the
facts [in the affidavit] are reasonably adequate to support the
issuing judge's implicit determination that other procedures
reasonably appear to be unlikely to succeed.” United States v.
Ashley, 876 F.2d 1069, 1074 (lst Cir. 1989).

The defendants contend that the wiretaps here were not
supported by a showing of necessity. Consequently, they argue,
evidence elicited pursuant to those wiretaps and all derivative
evidence must be suppressed.

ii. Analysis

The defendants submit that the wiretap affidavits failed to
meet the necessity requirement because (1) they failed to
establish that a wiretap was necessary and (2) they
misrepresented or omitted material facts in order to persuade
the Court that evidence sought by investigators could not be
obtained through less intrusive means.

The defendants’ primary argument is that normal
investigative techniques were yielding results and therefore to
wiretap Singer’s phone was premature. They contend that (1) the
government had access to over 30 gigabytes of Singer’s emails
pursuant to a search warrant which they had only begun to review

before applying for the wiretap, (2) the government was already
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working with two cooperators, and (3) the government had
obtained valuable bank records. The defendants suggest that
such success with normal investigative techniques only two
months into the investigation meant that the government could
not show that “it ha[d] encountered difficulties in penetrating
a criminal enterprise or in gathering evidence”. United States
v. Abou-Saada, 785 F.2d 1, 11 (lst Cir. 1986).

The “full and complete statement” requirement of
§ 2518(1)(c) does not require officers to include every detail
of an investigation, even if such details are relevant. United

States v. Cartagena, 593 F.3d 104, 110 (lst Cir. 2010).

 

Furthermore, “[t]here is no rule on the amount of time
investigators must try and fail, using other methods, before

turning to a wiretap application.” United States v. Nelson-

 

Rodriguez, 319 F.3d 12, 33 (lst Cir. 2003). Even if traditional
investigative procedures produce some results, “the partial
success of the investigation [does] not mean that there [is]

nothing more to be done.” United States v. Cao, 471 F.3d1, 3

 

(lst Cir. 2006) (emphasis omitted).

Here, the affidavits that were submitted with the June 5,
2018, application and thereafter demonstrate that the government
had made a good-faith effort to use other investigative
techniques and that there was a reasonable likelihood that

alternative techniques would be insufficient. Although the
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government had gained some information from traditional
techniques, the affidavits made clear that there was still much
to be done beyond conventional methods. The affidavits explain
in detail how and why other normal investigative techniques were
either exhausted or not feasible.

For example, the government had acquired some evidence that
defendants had made payments that resembled bribes, but it had
not obtained, nor could it, proof beyond a reasonable doubt as
to defendants’ intent to make bribes. There was also no
reasonable prospect that traditional investigative methods would
expose the full scope and membership of the conspiracy. Such
detail and reasoning are sufficient to meet the necessity

requirement. See United States v. Martinez, 452 F.3d 1, 5 (lst

 

Cir. 2006); see also United States v. Rivera-Rosario, 300 F.3d

 

1, 19 (1st Cir. 2002).
The defendants contend in their supporting memorandum that

the agents showed a
reckless disregard for the truth [by] dismissing the value
of vast amounts of evidence it had obtained through
traditional techniques but not yet reviewed [and failing]
to discover information in its possession that would
contradict a finding of necessity.

Docket No. 1025 at 21. However, the affidavits made clear what

evidence the government had obtained, its probative value and

why additional methods were required. Simply because the
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defendants disagree with the agents’ conclusion regarding
necessity does not render the affidavits fatally flawed.

Accordingly, defendants’ motion to suppress the
communications derived from the four wiretaps for failure to
show necessity will be denied.

C. Franks Hearing

In the event that their Motions to Suppress are denied,

defendants request, in the alternative, a hearing pursuant to

Franks v. Delaware, 438 U.S. 154 (1978) to challenge the

 

veracity and completeness of statements made in the affidavits
supporting the four wiretap applications.
i. Legal Standard
The defendants argue that they are entitled to an
evidentiary hearing so that their allegations of alleged
omissions and false statements in the wiretap affidavits may be
evaluated. To warrant such an evidentiary hearing, defendants
must make
a substantial preliminary showing that a false statement
knowingly and intentionally, or with reckless disregard for
the truth, was included by the affiant in the warrant
affidavit, and [that] the allegedly false statement is
necessary to the finding of probable cause.
Franks, 438 U.S. at 155-56. Provided the defendants make the

requisite showing, a Franks hearing may be held to address

allegations of material omissions as well as false statements.

Nelson-Rodriguez, 319 F.3d at 34.

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ii. Analysis

Defendants contend that they are entitled to a Franks
hearing to determine whether the government made material
misrepresentations in its affidavits with respect to the lack of
any connection between Singer’s suspected illegal activity and
the District of Massachusetts.

As discussed above, defendants have not made a substantial
preliminary showing that the affidavits omitted material facts
knowingly and intentionally, or with reckless disregard for the
truth, that would have altered the assessment by the issuing
court. See, e.g., Franks, 438 U.S. at 155-56; Nelson-Rodriguez,
319 F.3d at 34; Cartagena, 593 F.3d at 112; Rivera-Rosario, 300
F.3d at 20. None of the omitted facts would have been material
to the probable cause finding. Accordingly, the request for a
Franks hearing will be denied.

D. Failure to Seal
i. Legal Standard

Under 18 U.S.C. § 2518(8) (a) recordings obtained pursuant
to a Title III wiretap must be sealed “immediately” upon the
expiration of the period of the wiretap order, or any extensions
thereof.

The term “immediately” means that the tapes should be

sealed either as soon as practical after the surveillance

ends or as soon as practical after the final extension
order expires.

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United States v. Rodrigues, 850 F.3d 1, 11 (1st Cir. 2017)

 

(quoting United States v. Coney, 407 F.3d 871, 873 (7th Cir.

 

2005)). Section 2518(8) (a) provides further that “[t]he
presence of the seal provided for by this subsection, or a
satisfactory explanation for the absence thereof,” isa
prerequisite to the admissibility of evidence procured pursuant
to a wiretap order.

The defendants submit that the wiretaps were not timely
sealed and therefore any evidence derived from them must be
suppressed.

ii. Analysis

The final phone wiretap extension ended at midnight on
Friday, September 28, 2018, and the voice interceptions were
sealed on Tuesday, October 2, 2018, two business days later.

The final email wiretap of rwsinger@gmail.com ended on August 2,
2018, and the emails were sealed on August 6, 2018, two business
days thereafter. The final email wiretap of
rickwsinger@gmail.com ended on September 28, 2018, and the
emails were sealed on October 3, 2018, three business days
later.

In determining whether the government violated
§ 2518(8) (a), the Court must consider, inter alia: (1) whether,
by clear and convincing evidence, the government has established

that the integrity of the tapes has not been compromised; and,
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by a fair preponderance of the evidence, (2) whether the
government has demonstrated that the delay in presenting the
tapes for judicial sealing came about in good faith, which
requires a showing that the defendant was not prejudiced by the
delay and that the government did not benefit unfairly from the
lack of immediacy; (3) the length and frequency of any
particular delay; and (4) the cause of the delay. Rodrigues, 850
F.3d at 11.

Here, there is no indication that the integrity of the
tapes has been compromised or tampered with in any way.
Furthermore, “[w]hile the burden of proof is on the government,
this does not mean the government must prove a negative” when

the defendants do not allege tampering. United States v. Burgos-

 

Montes, 786 F.3d 92, 104 (lst Cir. 2015). The defendants do not
aver bad faith on the part of the government, nor is there
evidence of any prejudice to the defendants or unfair benefit to
the government as a result of the delay in sealing. Finally, a
delay of two or three business days is not unreasonable, per se.
See Rodrigues, 850 F.3d at 12. Although the government has not
explained why it did not file for sealing until two or three
business days after the expiration of the wiretaps, there is no
indication of “gross dereliction of duty or wilful disregard for

the sensitive nature of the activities undertaken by means of
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the order[s].” United States v. Mora, 821 F.2d 860, 869 (1st

 

Cir. 1987).
Accordingly, defendants’ motion to suppress the
communications derived from the four wiretaps for failure to

seal will be denied.

III. Order
In accordance with the foregoing, motions of the defendants
(1) to Suppress Title III Interceptions (Docket No. 1015), (2)
to Suppress Evidence Derived from Four Wiretaps (Docket No.
1024) and (3) for a Franks Hearing (Docket Nos. 1015 and 1024)

are DENIED.

So ordered.

Nathaniel M. Gorton
United States District Judge
Dated June 24, 2020
